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                  IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
In re:                               §
                                     § Case No. 22-33553 (CML)
ALEXANDER E. JONES                   §
                                     § Chapter 11
             Debtor.                 §
                                     §
                      JONES’ PRELIMINARY WITNESS LIST
 Main Case No: 22-33553                Name of Debtor: Alexander E. Jones
 Adversary No:                         Style of Adversary:

Witnesses:
Robert Schleizer                                  Judge: Christopher M. Lopez
Alexander E. Jones                                Courtroom Deputy:
Patrick Magill                                    Hearing Date: May 21, 2024 – May 22, 2024
David R. Payne                                    Hearing Time: TBD
Jeff Schultz                                      Party’s Name: Alexander E. Jones
Texas plaintiffs’ representative                  Attorney’s Name: Vickie L. Driver
Connecticut plaintiffs’ representative            Attorney’s Phone: 737-218-6187
Official Committee of Unsecured Creditors’
representative

Jones may call or cross-examine any witness Nature of Proceeding: Confirmation Hearing
designated or called by any other party;
Any witness necessary for impeachment or
rebuttal, as necessary;
Any witness for the authentication of
documents; and
Jones reserves the right to amend or
supplement this list as necessary, or in the
interests of justice.

Respectfully submitted this 25th day of March, 2024.
                                           CROWE & DUNLEVY, P.C.
                                           By: /s/ Vickie L. Driver
                                           Vickie L. Driver
                                           State Bar No. 24026886
                                           Christina W. Stephenson
                                           State Bar No. 24049535
                                           2525 McKinnon St., Suite 425
                                           Dallas, TX 75201
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                                           -and-
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                             Shelby A. Jordan
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                             S.D. No. 2195
                             Antonio Ortiz
                             State Bar No. 24074839
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                             ATTORNEYS FOR ALEXANDER E. JONES




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                               CERTIFICATE OF SERVICE

        A true and correct copy of the foregoing document was filed with the Court on March
25th, 2024, and served electronically upon those parties registered to receive electronic notice
via the Court’s CM/ECF system.



                                                   /s/ Vickie L. Driver
                                                   Vickie L. Driver




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